     Case 4:10-cv-14691-MAG-VMM ECF No. 1, PageID.1 Filed 11/23/10 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

Kenneth Widmer,                                      Case No.

          Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                     UNDER THE FAIR DEBT COLLECTION
v.                                                      PRACTICES ACT AND OTHER
                                                            EQUITABLE RELIEF
Apex Financial Management System, LLC,

          Defendant.                                  JURY DEMAND ENDORSED HEREIN

                                                 PARTIES

1. Plaintiff is a natural person who resided in Garden City, Michigan at all times relevant to this

      action.

2. Defendant is an Illinois limited liability company that maintained its principal place of

      business in Buffalo Grove, Illinois at all times relevant to this action.

                                    JURISDICTION AND VENUE

3.    Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

      arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

4.    Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

      giving rise to this claim occurred in this judicial district.

                                         STATEMENT OF FACTS

5. At all times relevant to this action, Defendant engaged in the business of consumer debt

      collection.

6. Defendant regularly uses the telephone and mail to collect consumer debts that Defendant

      either purchased or had been hired to collect.

7. The principal source of Defendant’s revenue is debt collection.




                                                      1
 Case 4:10-cv-14691-MAG-VMM ECF No. 1, PageID.2 Filed 11/23/10 Page 2 of 3




8. Defendant is a "debt collector” as defined by 15 U.S.C. §1692a(6).

9. As described below, Defendant contacted Plaintiff about an obligation allegedly owed to GE

   Capital, which had been incurred for personal rather than commercial purposes.

10. This obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

11. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) because Defendant has alleged

   that Plaintiff owes the debt.

12. In or around August 2010, Defendant telephoned Plaintiff on several occasions in connection

   with the collection of the debt.

13. On or around September 3, 2010, Plaintiff retained an attorney to file bankruptcy.

14. On or around September 15, 2010, Plaintiff telephoned Defendant and spoke to Defendant’s

   employee Mr. Delgado.

15. During this communication, Plaintiff notified Mr. Delgado that Plaintiff had retained an

   attorney to file for bankruptcy, provided his attorney’s telephone number, and informed Mr.

   Delgado that Plaintiff would therefore not pay Defendant.

16. During this communication, Mr. Delgado belligerently replied to Plaintiff’s notice by

   threatening that he would simply contact Plaintiff’s payroll department about the debt since

   Plaintiff would not pay voluntarily, implying not only that the debt would be disclosed to a

   third party but also that Plaintiff’s wages would be garnished.

17. At the time of this communication, Defendant had neither the intent nor ability to garnish

   Plaintiff’s wages.

18. At the times of this communication, Defendant had not received Plaintiff’s consent to speak

   to his payroll department about the debt.

19. Defendant violated the FDCPA.




                                                2
 Case 4:10-cv-14691-MAG-VMM ECF No. 1, PageID.3 Filed 11/23/10 Page 3 of 3




                                            COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

    in connection with the collection of the debt.

                                          JURY DEMAND

22. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

23. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.
                                                Attorneys for Plaintiff

                                                By: s/Timothy J. Sostrin
                                                   Timothy J. Sostrin
                                                   233 S. Wacker, Suite 5150
                                                   Chicago, IL 60606
                                                   Telephone: 312-753-7576
                                                   Fax: 312-822-1064
                                                   Email: tjs@legalhelpers.com

                                                     s/ with consent of Lori A. Leigh
                                                     Lori A. Leigh
                                                     17117 W. Nine Mile, Suite 1020
                                                     Southfield, MI 48075
                                                     Telephone: 866-339-1156
                                                     Fax: 248-569-3874
                                                     Email: lal@legalhelpers.com
                                                     Bar # P65423 (Local Counsel)




                                                   3
